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Exhibit Number: 3

 

Case Number: 6:17-cy-2206-orl-18-GJK

 

2013 INDEPENDENT CONTRACTOR AGREEME] Nuvasive, Inc.

V.
THIS AGREEMENT, made this 13th day of February, 201¢
ABSOLUTE MEDICAL ULC, a Florida corporation (hereinafter refe | Absolute Medical, LLC, et al.
whose address is 213 Villa Di Este Terrace #105, Lake Mary, FL ‘| Date Identified: JUN 28
Madsen Pro, (hereinafter referred to as “Independent Contractor” 2018

112 S Hampton Dr., Jupiter, FL 33458. Date Admitted:
JUN 2 8 2018

 

 

 

 

 

WITNESSETH: a

WHEREAS, om is in the business of selling surgical and non-surgical spinal
products and implants) related to spinal surgery, including, but not limited to spinal
implants, access instruments, such as retractors, graphing material, biological products,
and other producis, whith are more fully described on Schedule B (the “Products”) in
the territory set forth in Schedule A attached hereto, hereinafter referred to as “Agent's
Territory” by one of more manufacturers who supply the Products to Agent

| (“Manufaciurer’);

WHEREAS, Agent desires to engage Independent Contractor to provide the
services described in Schedule B (the “Services”) and Independent Contractor desires
to accept such engagement, all on the terms and conditions set forth herein;

WHEREAS, Independent Contractor seeks to be engaged by Agent as an
independent contractor to provide the Services described in Schedule B in the
designated territory (set forth in Schedule C)(the “Territory") and earn a commission as
set forth in Schedule D for such services; and

WHEREAS, as a' material inducement for Agent to enter into this Agreement is
Independent Contractor's agreement to be bound by all of the terms and conditions
_ contained herein in particular the provisions of Section 12 below.

 

NOW, THEREFORE, in consideration of the mutual covenants and promises
contained herein, the parties hereto agree as follows:

1. Relationship of Parties.

(a) The parties! to this Agreement intend that the relationship between them
be that of corporation and independent contractor. Independent Contractor is an
independent contractor of the Agent. The parties do not intend to create a partnership,
joint venture or employer/employee relationship.

(b) Agent shall not have the right to require Independent Contractor to do
anything that would jeopardize the relationship of independent contractor between
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EXHIBIT
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Agent and Independent Contractor. Likewise, Independent Contractor shall not conduct
his/her business in any way which will give rise to an employer/employee relationship
between the parties. |

(c) Independent Contractor shall perform the duties described in Schedule B
at a location of the Independent Contractor's choosing. Independent Contractor shall be
responsible for all costs associated with maintaining that location.

(d) The Agent Shall not require that Independent Contractor work specified
hours or days and the Independent Contractor shall set his own schedule. Independent
Contractor shall have no fixed hours, no established routines or routes, nor be required
to cover the Territory within a specified time frame. Independent Contractor has
discretion regarding when and how to perform his or her duties and responsibilities
described in Schedule B. |

(e) None of the} benefits provided by the Agent to its employees are available
to the Independent Contractor, including vacation pay, sick pay, insurance, or retirement
benefits.

(f) Agent shall} not withhold any local, state, or federal income tax, social
security, or other withholdings required of employees from commissions paid to
Independent Contractor., Independent Contractor shall indemnify and hold Agent
harmless against any of the costs specified in this paragraph.

(g) Independent Contractor is responsible for hiring, paying, and supervising
any staff that he or she may hire. Independent Contractor shall ensure that all of his/her
employees, agents and independent contractors rendering services hereunder meet the
obligations specified herein. The Independent Contractor, his/her employees and
agenis shall, at all times, exercise complete discretion and independent professional
judgment in the perfonmance of the services provided hereunder. Independent
Contractor shall indemnify and hold Agent harmless against any costs or expenses that
are incurred by Agent as a result of any actions of Independent Contractor's employees,
agents and independent contractors.

 

(h) Independent Contractor agrees to be solely and entirely responsible for
his/her acts and for the acts of his/her employees and agents, and for paying any taxes
and insurances required by law. Independent Contractor shall indemnify and hold
Agent harmless against same.

|

(i) Independe it Contractor may work for other entities while engaged as
Agent's independent contractor so long as that work does not interfere with Independent
Contractor's performance of the duties described in Schedule B and does not conilict

with Section 12 below. |

2. Independent Contractor, Agent hereby engages Independent Contractor as an
independent contractor to provide the Services in the territory described in Schedule C

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attached hereto and made a part hereof (the “Territory”). The products that are included
in the product groups sol by the independent contractors employed by Agent are listed
on Schedule B and are sold by the independent contractors and field support
representatives exclusive of any other products whatsoever. Independent Contractor
hereby accepts such engagement, all subject to the conditions, limitations and
provisions set forth in this Agreement. Agent reserves the right to review and modify
from time to time the Territory and the duties of engagement, and limit, expand or
otherwise change the Territory and the duties of engagement.

3. Term of Agreement. This Agreement shall commence on the Effective Date and
shall continue for one cH) year from the Effective Date. Unless either party provides
written notice of not less than thirty (30) days from expiration of the Term that it wishes
to terminate this Agreement, then this Agreement shall automatically renew for a period
of one (1) year. The term shall thereafter automatically renew for successive one (1)

year periods unless thirty (30) days notice is provided. This Agreement may also be
earlier terminated by either party in accordance with Section 9 hereof.

4. Covenants of Independent Contractor. Independent Contractor covenants to
Agent that at all times during the term of this Agreement:

(a) Independent Contractor shall use his/her best efforts to work with the
Independent Contractor's and field support representatives to advertise, promote and
sell the Products and to develop, maintain and regularly increase a substantial volume
of sales within the Territofy to existing and new customers in order to achieve maximum
market penetration.

(b) Independent Contractor shall distribute only literature, brochures and other
promotional materials (collectively, the “Promotional Materials") which have been
provided to Independent} Contractor by Agent or by Manufacturer and shall distribute
Promotional Materials only to Independent Contractors of the Agent, field support
representatives, existing ee and potential customers of the Products.

(c) Except as set forth in Promotional Materials or on Products provided to
Independent Contractor,| he/she shall not use Manufacturer(s)’ name, trademarks,
service marks or logos} under any circumstances, unless Independent Contractor
obtains prior written approval from Agent. Nothing contained in this Agreement is
intended to give Independent Contractor any license to use any of the foregoing.

(d) Independent Contractor shall store all of the Products delivered to him/her
at the location set forth on the first page of this Agreement or at such other locations
within Independent Contractor's Territory approved by Agent in writing in advance.
independent Contractor shall use his/her best efforts to safeguard all Products in his/her
possession or control and to protect such Products from damage and theft, as well as
maintain an inventory of Products in Independent Contractor's possession,

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(e) Independent Contractor shall not: (i) Knowingly sell or deliver, directly or
indirectly, any Products for use or resale outside Independent Contractor's Territory; (ii)
solicit orders for Products from customers outside Independent Contractor’s Territory
through any means; or (iii) establish an office outside Independent Contractor's Territory
for sale of the Products.

(f) Independent Contractor shall not make representations to customers or
potential customers or third parties that would be detrimental to either Agent or
Manufacturer.

(g) ero Contractor shall not alter, in any way, the original packages
of any Products or repackage any Products or ship any Products in damaged packages
which could affect the sfprily or fitness for use of the Product. Should Independent
Contractor come into possession of any Products which need to be repackaged, he/she
shall return same to Mantifacturer with notice to Agent.

(h) Upon advance notice and during normal business hours Independent
Contractor shall permit Agent to visit and inspect Independent Contractor's premises
and inspect the Products in his/her possession or control.

(i) Independent Contractor shall participate, assist and cooperate with Agent
in the collection of customer accounts receivable as may be requested by Agent from
time to time.

(j) Independent Contractor shall not encumber, rent, sell, create a security
interest in or otherwise transfer or dispose of any Products in Independent Contractor's
possession or control.

(k) Independent Contractor shall execute, alone or with Agent, any UCC
financing statement or other documents requested by Agent to protect the ownership
interests of Manufacturerjin the Products against the interests of third persons.

 

representations or statements to any person with respect to Agent, Manufacturer or the
Products. Furthermore, Independent Contractor shall not make any express or implied
warranties to any customers or prospective customers with respect to the Products
which are in any way jinconsistent with the Promotional Materials. Furthermore,
Independent Contractor shall not make any express or implied warranties to customers
or potential customers or|any other party regarding the Products which are not included
in Manufacturer's then current printed materials without Agent's prior written consent in
each instance.

(I) wor star Contractor shall not make any false or misleading

(m) Independent Contractor shall not enter into any agreement for or on behalf
of Agent or Manufacturer, create any obligation on behalf of Agent or Manufacturer, or
otherwise attempt to bind or obligate Agent or Manufacturer in any manner.

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(n) Independent Contractor shall comply with all of the terms and conditions
of engagement, and all of Agent’s instructions and requirements which may be stated
by Agent, orally or in writing, from time to time.

5. Covenants of Agent. Agent covenants to Independent Contractor that at all times
during the term of this Agreement:

(a) In the event of limited product availability, Agent shall distribute Products
to Agent's independent contractors according to Agent’s sole discretion.

 

(b) Agent shall make reasonable efforts to fill each order of Independent
Contractor for Products that Agent approves, but shall not be liable in any respect for a
failure to ship or for a delay in shipment of Products.

6. Business Plan. From time to time while Independent Contractor is serving as an
independent contractor for Agent pursuant hereto, Agent may require that Independent
Contractor submit to Agent a “Business Plan” covering a period of time beiween six (6)
months to one (1) year. | The Business Plan shall include a sales forecast by product
groups, a list of target accounts, a description of Independent Contractor's proposed
marketing and sales strategy and other relevant data as may be requested by Ageni.
Based on such Business Plan and Independent Contractor’s prior performance,
Independent Contractor! and Agent shall establish a sales goal for Independent
Contractor for the period covered by the Business Plan. It is entirely within Independent
Contractor's discretion how to reach his or her sales goal.

7. Orders, Commissions, Benefits, Delivery and Expenses.

(a) Independent Contractor hereby acknowledges that title to any Products
delivered to independent Contractor pursuant to this Agreement shall remain in
Manufacturer until sold to a customer in the ordinary course of business.
Notwithstanding the foregoing, Independent Contractor shall be liable for all lost or
damaged inventory.

(b) Provided Independent Contractor is not in breach of any obligations under
this Agreement, Agent shall pay to Independent Contractor the commissions described
in Schedule D attached hereto which are subject to modification upon thirty days notice
to Independent Contractar.

(G) Independent Contractor shall not be entitled to receive any other
compensation or consideration from Agent for the performance of its duties hereunder.

(d) Agent, updn approval from Manufacturer, shall establish prices for
Products to be sold in Agent's Territory.

(e) Independent Contractor shall obtain the prior written approval of Agent
with respect to the credit rating of a new customer prior to the shipment of any Products

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to such customer. Upon receipt of verbal instructions from Agent, which shall be
confirmed in writing, Independent Contractor shall cease delivery of any Products to a
customer which has failed to make payments to Manufacturer in accordance with
Manufacturer’s billing requirements at such time.

(f) Independent Contractor shall bear all costs and expenses of conducting
his/her business relating to the sale of the Products in Independent Contractor's
Territory, including but not limited to, travel, sales expenses and entertainment.

8. Changes to Products, Parts and Policies. Unless otherwise provided by
applicable law:

(a) Manufacturer may at any time modify or discontinue selling any Product
and Independent Contractor shall have no claim against Agent or Manufacturer for
failure to furnish Products of the type previously sold,

(b) Manufacturer may at any time change warranty or service policies without
incurring any liability to Independent Contractor.

Q. Termination of Agreement.

 

(a) This Agreement may be terminated by either party at any time, with or
without Gause, by providing not less than fifteen (15) days written notice to the other
party. This Agreement may otherwise be terminated by either party if the other party:

(i) commits a breach of any provision of this Agreement, or a breach
of any provision of any other agreement or written obligation heretofore or hereafter in
effect between Agent] and Independent Contractor (collectively, the “Other
Agreements"), which is pot cured within five (5) days after receipt of written notice
thereof by the other party

(it) makes a material false representation, report or claim in connection
with the performance of their obligations under this Agreement or any Other Agreement;

(iii) | ceases to carry on business in the ordinary course;
(iv) violates any provision of Section 12 of this Agreement;

(v) becomes insolvent, liquidates, is adjudicated a bankrupt, files a
bankruptcy petition, makes an assignment for the benefit of creditors, invokes the
provisions of any law fof the relief of debtors, or files or has filed against them any
similar proceeding; or

(vi) commits any act or omission by Independent Contractor or any
employee, jindependent contractor or other agent of Independent
Contractor that might be construed as a violation of the federal Stark law,
federal false claims act, federal anti-kickback statute, federal Health
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Insurance and Portability Act provisions, federal civil money penalties
statute, laws, rules and regulations pertaining to Medicare or Medicaid,
similar state laws or of criminal acts of a violent nature or relating to the
practice of medicine.

A termination based upon subsections (ii)-(vi) above shall be effective immediately.

(b) Upon termination of this Agreement for any reason, with or without cause,
Independent Contractor shall immediately deliver to Agent all price lists, customer lists,
catalogues, literature and any other dated and printed materials relating to the sale of
the Products in Independent Contractors possession, custody or control, on the
effective date of the termination, including but not limited to, Promotional Materials.

(c) Upon termination of this Agreement for any reason, with or without cause,
Independent Contractor shall, within ten (10) days after the Termination Date, deliver as
directed by Agent all Products then in his/her possession or control and a list of all then
currently scheduled surgeries. In addition, Independent Contractor shall promptly
supply Agent with a current list of the locations of any Products not in Independent
Contractor's possession jor control. Agent shall have the right to deduct from any
compensation due to Independent Contractor: (i) the replacement cost of any Products
previously delivered to Independent Contractor which have not been either sold to a
customer or delivered to Agent in accordance herewith; (ii) the replacement cost of any
Products returned to Agent which are deemed unacceptable by reason of their
damaged condition; and (iii) the amount of any repackaging and refinishing charges. If
the amount owed by Independent Contractor to Agent exceeds the commissions owed
by Agent to Independent Contractor, then Independent Contractor shall be liable for the
deficiency. Such amount|shall be due to Agent within ten (10) days after the termination
of this Agreement. ae to remit said amount shall entitle Agent to default interest on
the outstanding amounts | t the maximum allowable rate.

(d) The termination of this Agreement shall not relieve a party from any
obligations or liability to the other party incurred prior -to termination nor shall a
termination of this Agreement by a party be in lieu of any other remedies which may be
available to such party under this Agreement, at law or in equity.

(e) For edloutation of compensation due as of the date of termination,
Independent Contractor ‘shall be entitled to compensation only for any Products
surgically implanied prior) to the effective date of termination. Independent Contractor
shall not receive any compensation for Products surgically implanted after termination.
Any draws payable to | Independent Contractor shall cease upon termination, if
applicable.

40. Returns. Product returns during the term of this Agreement, other than in
accordance with Section|8 hereof, must be approved by Manufacturer in advance in
accordance with Manufacturer's then current “Return Goods Policy".

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11. Force Majeure. is shall not be liable to Independent Contractor on account
of any failure or delay in performing its obligations under this Agreement, including
without limitation, any failure or delay in delivering the Products to Independent
Contractor or his/her customers, where such failure or delay results, directly or
indirectly, wholly or partially, from any cause beyond its control, including by way of
illustration but not by Way of limitation, any acts of God, acts of governments,
curtailment of utility se lices, floods, fires, shortages of material, war, insurrection,
strikes or other labor dificulties, production difficulties in Manufacturer's factories or
those of its suppliers, or delays or failure of transportation facilities.

12. Confidentiality, Noncompetition; Competitive Products.

(a) (i) During the term of this Agreement, Independent Contractor shall
not manufacture, sell, market, attend surgeries using, or deliver any product, or
participate in any manner in such activities, whether personally or through a fictitious
name, corporation, partnership or other legal entity if such product is in competition with
any product manufactured, sold, marketed or distributed for sale by Manufacturer; nor
shall Independent Contractor manufacture, sell, market, or deliver any non-competitive
products that are used in spinal surgery. For purposes of this Section 12, a product is
“competitive” if it is technologically feasible to use in place of or as a substitute for
another, irrespective of the nature or extent of activity of such products in the existing
market. |
(ii) During the term of this Agreement and for a period of one (1) year
following the effective date of termination under Section 9 or Section 3 of this
Agreement for any reason whatsoever (the “Termination Date”), Independent Contractor
shall not directly or indirectly, as an individual, proprietor, partner, venturer, stockholder,
director, officer, consultant, employee, independent contractor, agent or in any other
capacity:

(1) Engage or participate, directly or indirectly, in the sale,
manufacture, or marketing of any spinal surgical devices offered by Agent or any of
Agent's Manufacturer(s) (except for sales made on behalf of Agent pursuant to this
Agreement during its tern);

(2) (a) work for, provide services to, engage in or assist others to
engage in or have interest in any business which competes with the Agent and/or
Manufacturer(s); (b) otherwise engage in any activities of the type in which he/she is
engaged on behalf of Agent including, without limitation, the representation of any
manufacturer, seller, or marketer of medical device products that are the same as or
that are competitive with any Manufacturers’ products or; (c) enter into any
compensation arrangement, sale of his/her business, distribution of assets, or any other
transaction relating to the manufacture, distribution, promotion or sale of products which
directly or indirectly compete with any Manufacturers’ product. The territorial scope of
this restriction shall be limited to the geographical county(ies) covered by Independent
Contractor and in which [ndependent Contractor solicited customers, covered cases, or

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sold any product on behalf of Agent at any time during the twelve (12) month period
preceding the end of = engagement with Agent.

(3) solicit, serve, divert, sell to, or accept business from or
attend surgeries of or assist any person in so soliciting, serving, selling to, diverting or
accepting business from! or attending surgeries of any “Protected Customer” of the
Ageny or in any way attempt to influence or persuade such customers to alter or
terminate their business] relationship with Agent or to refrain from purchasing any
products offered by Agent. The term “Protected Customer” refers to any physician,
hospital or medical facility that purchased or utilized in surgery any Product or any other
product sold or distributed by Agent and/or a Manufacturer and/or their employees,
representatives and independent contractors during the twelve month period preceding
termination of his/her engagement with Agent. ; or

| (1) Solicit the employment of, hire, retain or engage, or
cause any person or entity with which Independent Contractor is affiliated to solicit the
employment of, hire, retain or engage, any employee, independent contractor or other
agent of Agent or Manufacturer who had a relationship with Agent or Manufacturer at
any time during the term of this Agreement. This restriction shall also apply to
employees, independent|contractors and other agents of Independent Contractor who
have or had a relationship with Independent Contractor any time during the term of this
Agreement which Agent\or Manufacturer employs or retains during the term of this
Agreement and within one month of its termination.

(b) i Durirlg the term hereof and after the termination of this Agreement
for any reason whatsoever, Independent Contractor shall not at any time directly or
indirectly disclose to any individual, corporation, partnership or other entity any
“confidential information” (as hereinafter defined) or trade secrets of or relating to Agent

or Manufacturer.

(ii) For purposes of this Agreement, “confidential information” means
information disclosed or known to Independent Contractor or as a consequence of or
through the performande of his/her obligations under this Agreement (including
information conceived, originated, discovered or developed by Independent Contractor),
not generally known in the industry, about Agent's or Manufacturer's business,
processes, apparatus, products, research, research programs, customers, pricing,
financial data and businéss plans, and shall include the list of Agent's customers and
their contact information (address and telephone numbers).

(c) During the} term of Independent Contractor’s service to the Agent,
Independent Contractor shall not, directly or indirectly on such person's own behalf or
as an employee, independent contractor, agent, partner, owner, officer, director of any
person or entity or any other capacity, employ, retain or contract with any person or
entity who directly or |indirectly: (i) sells, offers for sale, promotes, distributes,
represents, receives or solicits orders for or attends surgeries utilizing any Competitive
Products; or (ii) accepts compensation of any kind from any person or entity providing or

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engaging in the sale, promotion, distribution or representation of any Competitive |
Products. Furthermore, Independent Contractor shall not directly or indirectly represent
any Competitive Products without the Agent's written consent.

 

(d) Independent Contractor recognizes and acknowledges that the limitations
set forth in this Section 12 are properly required for the adequate protection and benefit
of the business of Agent, jand that Agent will be irreparably harmed by the breach of this
Section 12. In addition to any other available remedies, Agent shall have the right to
have the provisions of thi Section 12 enforced by temporary or permanent injunction in
a court of competent jurisdiction.

(e) Independent Contractor agrees that in the event that any of the provisions
of this Section 12 are found by a court of competent jurisdiction to exceed the time and
geographic limitations enforceable under applicable law, such provisions shall be
automatically reformed ito establish the maximum time or geographic limitations
permitted by law, or, if not capable of such reformation deemed null and void.
Moreover, the parties agree that the durational restrictions contained in these covenants
shall be tolled during any |period of violation.

(f) In the event that Independent Contractor desires to be released from the
restrictions contained in Sections A(ii) (1) — (3), he/she may pay Agent the sum of three
times the sum Agent has received as a result of Independent Contractor's sale of
Products during the twelve month period immediately preceding termination of the
Agreement.

The terms and conditions of this Section 12 shall survive the expiration or termination of
this Agreement.

13. Indemnification. Fach of Agent and Independent Contractor (the “indemnitor”)
shall indemnify, defend and hold the other harmless from and against any liability, loss,
costs, expenses (including without limitation attorney's fees and costs) or damages
howsoever caused by reason of any injury (whether to body, property, or personal or
business character or eg sustained by any person or to property, by reason of
any breach of this Agreement, neglect, default, or omission by the indemnitor or its
agents, employees or other representatives.

14. Damages. Agent shall not be liable for any incidental, consequential, special or
punitive damages for a failure to fill an order, delay in shipment or delivery, or any other
act or omission. 1

15. Entire — This Agreement constitutes the entire Agreement between
the parties relating to tha matters covered by this Agreement and supersedes all prior

agreements, whether written or oral. No modifications or waiver of any part of this
Agreement shall be binding upon either party unless in writing executed by both parties.

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16. Severability. If any term or provision of this Agreement shall be determined
invalid or unenforceable to any extent or in any application, then the remainder of this
Agreement and of such term or provision except to such extent or in such application,
shall not be affected thereby, and each and every term and provision of this Agreement
shall be enforced to the fullest extent and in the broadest application permitted by law.
Further pertaining to ite restrictions contained in Section 12 hereof, while said
restrictions are considered by the parties hereto to be reasonable in all circumstances, it
is recognized that restrictions of the nature set forth herein may fail for reasons
unforeseen and accordihgly it is hereby agreed and declared that if any of such
restrictions shall be deemed or adjudged to be void or voidable as going beyond what is
reasonable in all the circumstances, for the protection of the Agent's business, then
such restrictions shall not thereby be terminated, but shall be deemed amended to the

extent required to render such restrictions valid and enforceable.

17. Notice. Any solide or other communication required or permitted to be given
hereunder shall be in writing and shall be mailed by pre-paid certified mail, return
receipt requested or by|Federal Express or other similar overnight delivery service
providing proof of delivery, to the other party at the address set forth on the first page of
this Agreement. All a shall be effective upon mailing as set forth above.

18. Governing Law, Uurisdiction. This Agreement shall be governed by and
construed in accordance with the laws of the State of Florida. Any action or proceeding
shall be brought in the courts of Broward County, Florida.

19. Headings. The so in the Sections of this Agreement are inserted for
convenience only and shall not constitute a part hereof.

20. Customer Goodwill. | agree that a portion of the consideration to be provided by
Agent under this agreement is in exchange for any goodwill | may currently have with
physicians, hospitals and other medical providers and their staff and hereby transfer
that goodwill to Agent for |its future benefit.

21. Binding Nature. This Agreement shall be binding upon and inure to the benefit of
the parties hereto and |their respective successors, representatives and permitted
assigns. Independent Contractor shall not assign this Agreement or any portion thereof
without the express written permission of Agent.

 

22. Construction. The parties acknowledge that each party and its counsel have
reviewed and revised this Agreement and the normal rule of construction to the effect
that any ambiguities are to be resolved against the drafting party shall not be employed

in the interpretation of this Agreement or any amendments or exhibits hereto.
23. Further Assurances. Each of the parties hereto shall execute any and all further

or additional instruments! or documents as the other party may reasonably request in
order to give effect to the|agreements contained herein.

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24. Prevailing Party Attorneys’ Fees. The prevailing party in any action or
proceeding brought by either party relating to this Agreement shall be entitled to recover
reasonable attorneys’ fees and costs from the other, including costs and fees on appeal.

25. individual Obligor! Agent recognizes that Independent Contractor may do
business via a oe or other business entity. Agent, however, is, in part,
contracting for the spetific services of the individual executing this Agreement.
Accordingly, to the extent that the Independent Contractor is identified as a business
entity in the opening patagraph of this Agreement, by executing this Agreement, the

 

 

 

 

individual signatory confirms that he is also individually bound by all of its terms and
conditions.
IN WITNESS WHEREOF the parties hereto have set their hands the day and year first
above written.

ABSOLUTE MEDICAL LLC INDEPENDENT CONTRACTOR
By:
GREG SOUFLERIS, Principal Agent Print Name:

Individually and on behalf of Independent

Contractor

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SCHEDULE A

Agent’s Territory

Volusia
Orange
Seminole
Lake
Osceola
Brevard
Indian River
St. Lucie
Okeechobee
Highland
Martin
Palm Beach

North Broward

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SCHEDULE B

[Services and Products]

INDEPENDENT CONTRACTOR'S SERVICES:

 

SALES REPRESENTATIVE:

The FSR is responsible for providing coverage for all surgeries in an assigned
geography. Coverage includes but is not limited to coordinating scheduling, ordering
and delivering inventory, in-servicing hospital staff and surgeons on products, intra-
operative product technical support, delivering accurate charge sheets and cleaning and
pick-up of inventory. An FSR is expected to represent the Agent in a professional

manner and to be regarded as an asset by the surgical and nursing staff.
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The SR is responsible for the duties described above for an FSR, and, in
addition, the SR will vigorously pursue the sale of products in a defined geography.
Sales duties will include but are not limited to sales forecasting, geography landscaping,
prospecting, product presentation and business requesting. The SR will track purchase
orders and invoices for the Agent as well as

PRODUCTS:

Spinal surgical products including but not limited to spinal implants, biologics, bone
cement, allograft, neurophysiological monitoring equipment, disposables, hemostasis
products, surgical instruments i.e. retractors, hand instruments etc.

 

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SCHEDULE D

[Commissions]

2013 Compensation Plan

* $5,500 per month

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